                                                      Case 1:11-cv-00736-LEK-CFH Document 432-3 Filed 04/14/15 Page 1 of 1
24




                                                                                                                            Rd




                                                                                                                                                                                                                                                                                     Ne
                                                    ld       Ave
                                            Fairfie                                                                                                                                                                       Aspinwa
                                                                                                                                                                                                                                  ll          Rd




                                                                                                                                                                                                                                                                                        we
                                                                                                                       re t t
                                                                                                                   d                                                                                                                                                                                                   Park Hill D
                                                                                                              lR                                                                                                                                                                                                                   r




                                                                                                                                                                                                                                                                                           ll
                     Vatrano                                                                                el




                                                                                                                      Eve




                                                                                                                                                                                                                                                                                              Ct
                             R                    d                                                     s
                                                                                                     us                                                                                                                                                                                                                P ar
   12




                                                                                                                                                                                                                                                                                                      er Blvd
                                                                                                  R
                                                                                                    Dr                                                               25                                                                                                                                                       kH
                                                                                                                                                                                                                                                                                                                                     l




                                                                                                                                                                                                                                                      Loudon Rd
                                                                                            any




                                                                                                                                                                                                                        Sha
                                                                                  W Alb           Ex




                                                                                                                                                                                                                                                                                                                            r
                                                                                                                                                                                                                                                                                                                       tt D
                                                                                                    ch
                                                                                                     Pa
                                                                   an




                                                                                                                                                                                                                           ker R
                             ve                                                  Bu




                                                                                                                                                                                                                                                                                                   nssela
                                                                                                        rk
                                                                                                                                                                                                                                                                                                                              14
       State Hw




                                                                                                                                                                                                                                                                                                                        o
                            A                 d                   Co g e S            rdi                  in g                                                                                                                                                                                                                                  Ram




                                                                                                                                                                                                                                                                                                                     Sc
                        tin               l R                        r ni t               ck                                                                                                                                                                                                                                                           p
                      s                el                                n                    D                 Lo




                                                                                                                                                                                                                              d
                     u




                                                                                        t
                                     s                                     g                     r                 t



                                                                                     Rd Ex
                   A               s                                         St




                                                                                                                                                                                                                                                                                                       e
                                 Ru                          Ramp




                                                                                                                                                                                                                                                                                                 Van R
  Ramp




                                                                                           An
          y 85




                                                                                                          Ra




                                                                                                                                                                                                                            r
                                                                                                                                                                                                                                                                  d
                                                                                                                                                                                                                                           Birch Hill R




                                                                                                                                                                                                                       ry D
                                                                         Ind                   de              mp
                                                                              us
                                                                                 Everett
                                                                                 tria              rs                                                                                                                                                                          Alison McLean Lane
                                                                                                     on




                                                                                                                                                                                                                      em a
                                     ve




  11                                                                       Co
                                                                               mm Park
                                                                                      l                  Dr                                                                                                                                                           Lin




                                                                                                                                                                                                                                Sh
                                                                                                                         Ra                                                                                                                                                             Driv
                                   nA




                                                              3rd                                                                                                                                                                                                         dbu                ewa
                                                                                    er c                                    m                                                                                                                   Virginia Moffia-Toble La      rg




                                                                                                                                                                                                                                   a
                                                                                                Rd




                                                                                                                                                                                                                   R os
                                                                    St                                                                                                                                                                                                   wn h Ave
                         lvi




                                                                                                                              p                                                                                                                                                                  y




                                                                                                                                                                                                                                    ke
                                                                                         e
                       Co




                                Raymond F. Joyce                                            Av                                                                                                                                                                               Av




                                                                                                                                                                                                                                     rP
                                                                                                e                                                                                                                                                                               e




                                                                                                                                                                                                                                                                                    US H w
                                       Lin
                                                                                                     Hu




                                                                                                                                                                                                                                       ar k
                                            co                                              Pro                                                                                                                                                                        N3
                                                                                                           nt
                                                           W                                                                                                                                                                                                               rd S
                                                                                              e




                                                                                                                                  vd
                                                         nin Ave ve Ter horn St




                                                ln                                                s pe
                                                                                                              e
                                                                                   ce e Av




                                                   Av W illow




                                                                                                                                                                                                                                           Dr
                                                                                                                                                                                                                                                                                t
                                                                                                                 rA
                                                                                                       ct A
                                                                                                                                Bl
                                                                                           en




                                                     e e                                                     ve
                                                                                                                                                                                                                                                      3




                                                                                                                                                                                                                                                                                        y9
                                                                                                                   ve




                                                                                                                                                                                                                                                                              9
                                                                                          e




                                                                     S                                                  in g
                                                                               Ha Ei l e




                                                                                                                                                                                                                                                                                                                       ay
                                                              s        t                                                                                                                                                                                                                      N1
                                                                                       Av




                                                      Ke        t




                                                                                                                                                                                                                                                                         H wy
                                                          nt S t                        2n
                                                                                      e




                                                                                                                                                                                                                                                                                                       st S
                                                                                                                       nn




                                                                                                                                                                                                                                                                                                                     adw
                                                 W
                                                          13
                                                                                    Av




                                                                                           d
                                                                                   wt




                                                   as                                                                                                                                                                                                                                                            t
                                                      h in St
                                                                                                                  Ma


                                                                                             St 3
                                                                                 ra




                                                                                  Cl
                                                                                op




                                                                                                      rd




                                                                                                                                                                                                                                                                   US




                                                                                                                                                                                                                                                                                                                 Bro
                                                          gt                         int                 St Liv                                                                                                                                                                     I 90 I 90
                                                                                                                 N
                                                                             hr




                                                                                                                                                                                                                                    d
                                                                    K




                                                                                                                                                                                                                                                                                                                                 d
                                                             on       en                 on




                                                                                                                                                                                                                                   R
                                                                                                                   ing                                                                                                                                            p




                                                                                                                                                                                                                                                                                                                             Blv
                                                                          int




                                                                           t




                                                                         t                   A                                                                                                                                                              m
                                                                en n S




                                                                 Av




                                                                                                                                                                                                                                rk
                                                                           S                   v                      sto
                                                                                                                                                                                                                                                      Ra
                                                                        W




                                                                                                e
                                                               ain St




                                                                   e         t




                                                                                                                                                                                                                             Pa




                                                                                                                                                                                                                                                                                                                        Erie
                                                                                                                          nA
                                                                      e
                                                                     le


                                                                   Av
                                                                  ce
                                                                  Al
                                                                   A




                                                                   Douglas A. Bullock                                       ve
                                                                                                                                                                                                                                                                         Tiv
                                                                 d
                                                  M ion e




                                                       W t N




                                                                                                                                                                 4
                                                       Pi Blv
                                                       ar lin




                                                         len e




                                                                                                                                                                                                                                                                            o
                                                              wr
                                                      A l Av




                                                                                                                                                                                                                                                   Dudle
                                                                                                                                                                                                                                                                      y Hts li St
                                                             M




                                                                                                                                                                                                  Norma J. Chapman
                                                      M rook




                                                                                                                                                                                                                                                                                                            l St
                                                             S




                                                                                                                                                     Br
                                                           La
                                                            g




                                                           N
                                                           e




                                                                                                                            St


                                                                                                                                                       ad
                                                          n




                                                                                                                                                                         El




                                                                                                                                                                                                                                                                                                           Mil
                                                        B




                                                                                                                                                                                                                          t
                                                     an




                                                                                                                                                                fo

                                                                                                                                                                            k




                                                                                                                                                                                                                      kS
                                                                                                                       io




                                                                                                                                                                                                                                                                       r
                                                                                                                                            t




                                                                                                                                                                                                                                         t
                                                                                                                                                                                                                                                                                              Th
                                                    S




                                                                                                                                    il S




                                                                                                                                                                                       St
                                                                                                                                                                 rd




                                                                                                                                                                                                                                        S




                                                                                                                                                                                                                                                                       D
                                                                                                                       r
                                                    e
                                                   S




                                                                                                                    ta




                                                                                                                                                                                                                                                                                                                              mp
                                                                                                                                                                                                                  Oa
                                                 Av




                                                                                                                                                                                                                                                                                                 a




                                                                                                                                                                                                                                     rk
                                                                                                                                                                     St




                                                                                                                                                                                                                                                                  Lark
                                                                                                                                                                                                                                                                                                      tc
                                                                                                                 On




                                                                                                    Ma
                                                                                                                                a
         S




                     10
                                                                                                                                                                                                                                   La
                                                                                                                             Qu




                                                                                                                                                                                  Ce




                                                                                                                                                                                                                                                                                                         he




                                                                                                                                                                                                                                                                                                                            Ra
                                             ain




                                                                                                      dis                                         We                                                                                                                                                        r
                                                                                                                                                                                                                                                                                             N
                                                                                                                                                                                             nt




                                                                                                                 on                                  ste                                                          Merton D. Simpson                                                                              St
                                           M




                                                                                                                                                         rn                                                                                                                                      Fe
                                                                                                                                                                                              ra




                                                                                                                      Av                                               Ave
                                                                                         7
                                         S
                                        St




                                                                                                                                                                                                lA




                                                                                                                         e                                                                                                                                                                            rry
                                                                                                                                                                                                  ve
      ie




                                                                                                                                                                                                                      t
                                     St




                                                                                                                                                                                                                                            1s                                                              St
                                                                                                                                                                                                                  kS
                                    St
   inn




                                                                                                      Pa           Mo
                                                                                                                                                                                                                                2              tS
                                   e




                                                                                                                                                                                                St                                     Or
                                 ie




                                                                                                                                                                                                                r
                                dg




                                                                                         M                  rk       r                                                                                                                            t
W




                                                                                                                                                                                                             La




                                                                                                                                                                                                                                                                                                      t
                                                                                                                 Av ris S                                                                             ate                                 an




                                                                                                                                                                                                                                                                  t




                                                                                                                                                                                                                                                                                                 rS
                            Er




                                                                                             er




                                                                                                                                                                                                                                                           N Pearl S
                              i
                          rtr




                                                                                                    ce                                                                                                      St                               ge




                                                                                                                                                                                                                                                                                            e
                                                                                                                   e      t
                         W




                                                                                                                                                                                                                                                                                         at
                        Pa




                                                                                                       r
                                                                                                                                                 St




                                                                                                           St                                                                                                                      El           St
                                                                                                                                                                                                 t




                                                                                                                                                                                                                                                                                        W
                                                                                                                                                                                             tt S




                                                                                                                                                                                                                                      kS
                      St




                                                                                                                                          bi n




                   Donald W. Rahm                                                                                                                                                                                                        t
                                                                                                                                                                                         ille
                                                                                                                                  Ro
                 ario




                                                                                                                                                                                                              St




                                                                                                                                                                                                                                                                                        9
                                                                                                                                                                5
                                                                                                                                                                                 W




                                                                                                                                                                                                                                                                                     wy
                                                                                                                                                                                                          ve




                                                                                  New Scotland Ave
              Ont




                                                                                                                                                                                                                  Christopher T Higgins
                                                                                                                                                                                                       Do




                                                                                                                                                                                                                                                                                 H
             ve




                                                                                                                                                                                                                                        Pi

                                                                                                                                                                                                                                                                              US
                                                                                                                                                                          M                                                      St
           lA




                                                                                                                                                                                                                                    ate ne
                                                                                                                                                Ho




                                                                                                                                                                         y r El m
Academy Rd




                                                                                                                                                                            tle
         na




                                                                                                                                                                                                                       I7              St St
                                                                                                                                                 lla




                                                                                                                                                                                Av S t                                    87
     rdi




                                                                                                                                                                                                                            d




                                                                                                                                                                 Me                                                          Co Beaver
                                                                                                                                                     n




                                                                                                                                                                                  e
                                                                                                                                                                                                                       wa R
                                                                                                                                Cl

                                                                                                                                                      dA




                                                                                                                                                                                                                                                                                                                                            ®
         Ca




                             Justin O. Corcoran                                                                                                                     rc
                                                                                                    8                                                                                                                                    St
                                                                                                                                                                                                                    ive um




                                                                                                                                                                                                                                                                       Qu a y S t
                                                                                                                                   ar




                                                                                                                                                                       er                                                      nn
                                                                                                                                                        ve
                                                                                                                   Sa


                                                                                                                                         aB




                                                                                                                                                                                                                          y




                                                                                                                                                                          St
                                                                                                                                                                                                                D r us e




            Wh
                                                                                                                                                                                                                       St




                                                             Ha
                                                                                                                      m




               ite
                                                                                                                                                ar t




                                                                c
                                                                                                                                                                                              St
                                                                                                                                                                                                                     M




                                                                                                                                                                                                                    St
                                                                                                                                                                                                           Ph gle




                          hal                                         ke
                                                                                                                        ar i




                             l                                             tt B
                                                                                                                                                  on




                                            Rd
                                                                                                                                                                                        wa n




                                                                                                                                                                                                                  p
                                                                                                                            t an




                                                                                                                                                                                                             Ea




                                                                                                                                                                                                                                                6
                                                                                                                                                                                                             St




                                                                                   l vd
                                                                                                                                                                                                               li




                                                                                                                                                                                                                                   US
                                                                                                                                                       Dr




                                                                                                                                                                                                             i




                                                                                                                                                                   e                              Mo r
                                                                                                                                                                                                          nd
                                                                                                                                  Rd




                                                                                                                                                                Av                                                                    Hw
                                                               St




                                                                                                                        ve
                                                                                                                                                                                      SS




                                                                                                                                                                                                        ton
                                            t




                                                                                                                                                                                                                                         y2
                                    nC




                                                                                                                    it A                             w                                                      Ave
                                                                                                                                                                                                      Gra




                                                                                                                                                                                                                         SF                 0
                                                            b




        I8                                                                                  t                                                    Vie
                                                                                                                                                                  Slingerla




                                                                                                                   m                                                                                                         erry
                                                       m




             7                                                                           aS
                          lto




                                                                                                                 m                                                                                                                S
                                         tild
                                                     co




                                                       Su                                                                                                                                              3r                           t
                        Ke




                                                                               t
                                      Ma           S t ve            Garden S                                                                                                                            dA
                                                   ge




                                                te                                                                                                                                                          ve
                                                                                                                                                                       Moore S
                                                 Ed




                                              a         A
                                                                                                                                                        e Ave




                              Al            K are                                                                                                                                                              Lucille M. McKnight
                                 b io         law 2nd Ave
                                                                                                                                                                           n




                                                                                                                                                                                                                     4th
                                     n A De
                                                                                                                                                                                                                                                                                                           Albany County
                                                                                                                                                                                                                           t
                                                                                                                                                                          d St




                                                                                                                                                                                                                         Ave
                                                                                                                                                                                                                      lS S
                                                                                                                                                                                                             St
                                                                                                                                                 Frisbe




                                                                                                                                                                                                                    ar ton




                               I8       ve
                                                                                                                                                                                                        nk
                                                                                                                                                                               t




                                                                                                                                                                                                                         t




                                                          Leed a
                                    7
                                                  9
                                                                                                                                                                                                                  Pe Clin
                                                                                                                                                                                                         a




                                                                  le St
                                                                                                                                                                                                                                                                                                                Remedial
                                                                                                                                                                                                      Kr




                   Gold                           Mounta
                                                                                       1st Ave                                                                                                                              87
                                                                      Bo




                        e                                    in St       Mc C a
           Mill R        r St                                                    rty Ave                                                                                                                                  I7
                                                                          hl




                                                                                                                                                                                                                  S




                  d
                                                                                                                                                                                                                                                                                                             Redistricting
                                                                              Pl




             d                                                   R am p
                           Rockefeller Rd




                                                            p
          dR                                              m
                                                                                                                                                                                                                                    h St




       Ol                                             R a                           Dr
                                                                              ope
                                                                         nt H
                                                                                                                                                                                             1                                                                                                                        Map
                                                                                                                                                                                                                                    rc




                                                                     Mou
                                                                                                                                                                                                                                Chu




    34
                                                                                                                                Southern Blvd




                                                                                                                                                                                                                                   Boa
                                                                                                                                                                                                                                         t St                                                               April 12, 2015
                                                                                                                                                                                                                                   vd




    H an
                                                                                                                                                                                                                                     l
                                                                                                                                                                                                                                th B




              ov e                                                                                                                                               Binghampton St
                       rD
                                 r
                                                                                                                                                                                                                             Sm i
                                                                                                  Ha
                                                                                                     n




                                                                                                                                                                                                                          Gra
                                                                                                      na




                                                                                                                               W                                                                                             in     St                39 Districts with 5 MMDs
                                                                                                        yL




       Ke
          nw                                         Ce
                                                                                                                       ut   e9                     Corn                                                      Kea
                                                                                                                                                                                                                   n St
                                                                                                          n




             oo                             n                                                                                                          ing H
                d                Av
                                                 M
                                         a e t er L                                                               Ro                                                           ill Rd
                                    e                                                                                                                                                                                                           DIST              DIFF                       TP_18                   %NH_DOJ_B18            %DOJ_B_H18
                                            w       n
                                              in
                                                 D                                                                    36                                                                                                                        1                 -138                        5,454                    52.37%                 62.69%
                                                                                        US Hwy 9W




                                                  r                                                                                                                                                                                             2                 -348                        5,421                    58.49%                 67.98%
                                                                                                                                                                          Retreat House Rd



                                                                                                                                                                                                        Port St




                                      Delmar Byp                                                                                                                                                                                                3                 -294                        5,529                    51.42%                 58.93%
                                                                                                                                                                                                                                                4                 -330                        5,383                    51.51%                 61.92%
                                                                                                                                                                                               r Rd




                                            35                                                                                                                                                                                                  6                 -384                        5,614                    50.55%                 61.95%
                                                                                                                                                                                             R iv e




                                                                                                                                                                                                                                                                                    0        0.15           0.3                      0.6   0.9     1.2
                                                                                                                                                                                                                                                                                                                                                     Miles
       Bender Ln
